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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                           Criminal No. 22-mj-90 (HB)


 UNITED STATES OF AMERICA,                 )
                                           )
                      Plaintiff,           )
                                           )
       v.                                  )    ORDER FOR DETENTION AND
                                           )    FINDING OF PROBABLE CAUSE
 ALBERT WALTER BRATTON III,                )
                                           )
                      Defendant.           )



      This matter came before the Court on January 26, 2022, for a hearing on the United

States’ Motion for Detention pursuant to 18 U.S.C. §§ 3142(f) and (g), and a preliminary

hearing on the Government’s Complaint pursuant to Rule 5.1 of the Federal Rules of

Criminal Procedure.

      At the hearing, Defendant ALBERT WALTER BRATTON III was present and

represented by Doug Olson, Assistant Federal Defender. The Government was represented

by Amber Brennan, Assistant United States Attorney.

      Nicholas Marshall, who is a Special Agent with the Federal Bureau of Investigation,

testified at the hearing regarding the facts and circumstances surrounding the current

allegations against Defendant, his record of involvement in other incidents, including a

traffic stop in May 2021 and a search warrant executed at his residence in December 2021.
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                  FINDINGS OF FACT AND CONCLUSIONS OF LAW

       1.      Based on the record before the Court, including the testimony of Special

Agent Marshall and the arguments of counsel, the Court finds that the Government

established probable cause to believe that Defendant committed a violation of 21 U.S.C. §

841(b)(1)(C), possession with the intent to distribute a mixture or substance containing

cocaine, and 18 U.S.C. § 924(c), carrying a firearm during and in relation to a drug

trafficking crime.

       2.      Because Defendant is facing charges that carry a maximum sentence of more

than 10 years pursuant under the Controlled Substances Act, 21 U.S.C. § 841(b)(1)(A), as

well as charges pursuant to 18 U.S.C. § 924(c), there is a rebuttable presumption in favor

of detention. 18 U.S.C. §§ 3142(e)(3)(A)-(B).

       3.      If Defendant rebuts the presumption in favor of detention, the burden is on

the Government to show by clear and convincing evidence that no condition or

combination of conditions will assure the safety of the community if Defendant is released,

or by a preponderance of the evidence that releasing Defendant will create a risk of his

nonappearance. 18 U.S.C. § 3142(f).

       4.      Based on the record before it, the Court finds that although Defendant

rebutted the presumption as to risk of nonappearance, Defendant has failed to rebut the

presumption in favor of detention based on danger to the community and therefore

detention is appropriate. The Court further finds that even had the presumption been

rebutted, the Government showed by clear and convincing evidence that there is no

condition or combination of conditions that would assure the safety of the community if
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Defendant is released pending trial. This finding is based on the alleged offense conduct,

which involves possession of a firearm and crack cocaine packaged for sale on June 10,

2021, as well as the fact that Defendant was on supervision by state authorities for a 2019

drug offense at the time of the instant offense conduct as well as in December, 2021, when

law enforcement recovered firearm-related items (empty magazines) from his apartment,

as well as firearms and extended magazines from vacant units within the building to which

he had access. The Court also finds by a preponderance of the evidence that there is no

condition or combination of conditions that will assure Defendant’s continued appearance

in these proceedings, based in part on Defendant’s flight from police on June 10, 2021.

       5.      Pursuant to 18 U.S.C. § 3142(e), detention is appropriate.

THEREFORE, IT IS HEREBY ORDERED that:

       1.      Pursuant to Rule 5.1(e) of the Federal Rules of Criminal Procedure,

Defendant is required to appear for further proceedings in this matter.

       2.      Defendant is committed to the custody of the United States Marshals for

confinement in a correctional facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal.

       3.      Defendant shall be afforded reasonable opportunity to consult privately with

his lawyer.

       4.      Upon order of the Court or request by the United States Attorney, the person

in charge of the correctional facility in which Defendant is confined shall deliver him to

the United States Marshal for the purpose of appearance in connection with all court

proceedings.
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Dated: January 28, 2022                  s/ Hildy Bowbeer
                                         The Honorable Hildy Bowbeer
                                         United States Magistrate Judge




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